
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________


          No. 95-2335


                             DONALD M. BERKOVITZ, ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                            HOME BOX OFFICE, INC., ET AL.,

                                Defendants, Appellees.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. Robert E. Keeton, U.S. District Judge]
                                             ___________________

                              _________________________

                                        Before

                                Selya, Cyr and Boudin,

                                   Circuit Judges.
                                   ______________

                              _________________________

               Joseph L.  Kociubes, with whom Peter J. Mancusi and Bingham,
               ___________________            ________________     ________
          Dana &amp; Gould were on brief, for appellants.
          ____________
               Kim  J. Landsman,  with whom  Carin G.  Reynolds, Patterson,
               ________________              __________________  __________
          Belknap, Webb  &amp;  Tyler  LLP,  Andrea J.  Pollack,  Cornelius  J.
          ____________________________   __________________   _____________
          Moynihan,  Jr., and Peabody &amp;  Brown were on  brief, for appellee
          ______________      ________________
          Home Box Office, Inc.
               Cornelius  J.  Moynihan, Jr.,  with  whom  Peabody &amp;  Brown,
               ____________________________               ________________
          Joseph  J.  Santora,  Leonard  F.  Lesser,  and  Schneck  Weltman
          ___________________   ___________________        ________________
          Hashmall  &amp;  Mischel LLP,  were  on brief,  for  appellees Viacom
          ________________________
          International, Inc. and MTV Networks.

                              _________________________

                                    July 22, 1996

                              _________________________















                    SELYA,  Circuit  Judge.   In  this  appeal,  plaintiff-
                    SELYA,  Circuit  Judge.
                            ______________

          appellant  Donald M.  Berkovitz challenges  the district  court's

          spontaneous entry of judgment in favor of the defendants Home Box

          Office, Inc.  (HBO)  and Viacom  International,  Inc.  (Viacom).1

          Although  we   applaud  the  district   court's  innovative  case

          management and  its Briarean  efforts to  refine  the issues  for

          trial,  we believe  that in  one crucial  respect the  court went

          awry.    Consequently, we  vacate  the  judgment  and remand  for

          further proceedings.

          I.  FACTUAL PREDICATE
          I.  FACTUAL PREDICATE

                    We frame the facts in the aspect most beneficial to the

          party  against   whom  the  district   court  entered   judgment,

          consistent  with record  support.   See, e.g.,  Quaker  State Oil
                                              ___  ____   _________________

          Refining Corp. v. Garrity Oil Co., 884 F.2d  1510, 1513 (1st Cir.
          ______________    _______________

          1989).

                    In early 1984, Berkovitz  hit upon an idea for  a cable

          television channel.   He  dubbed this concept  "The Entertainment

          Network" (or, for short, "the TEN plan").  The concept envisioned

          a  round-the-clock  commercial  television  channel  highlighting

          lesser-known musical and comedic acts supplemented by talk shows,

          movies,  and other  staples.   The  concept embodied  interactive

          features through which the  viewing audience could participate in
                              
          ____________________

               1We   omit  particularized  reference  to  two  parties  who
          necessarily  stand or  fall  with parties  whom  we have  already
          mentioned.   The  omitted  parties are  plaintiff  KDK, Inc.  (an
          inactive  corporation controlled by  Berkovitz) and defendant MTV
          Networks (a wholly-owned subsidiary  of Viacom).  Notwithstanding
          this  exercise of literary  license, our opinion  is binding upon
          all the litigants.

                                          2














          contests and offer programming suggestions telephonically.

                    In February 1985,  Berkovitz offered a copy  of the TEN

          plan  to an HBO vice  president, Larry Carlson,  who accepted the

          offer.  He then  sent the document (which, like  all other copies

          of the TEN plan mentioned herein, bore  the legend "confidential"

          on its cover page) to Carlson.  Approximately three months later,

          HBO disclaimed any interest and returned the submission (although

          Berkovitz intimates that  HBO retained  a copy).   In July  1987,

          Berkovitz  attempted to  interest Viacom  in the  TEN plan.   The

          chairman's secretary suggested that he forward a copy to  Viacom.

          He claims to  have done  so (on  the express  condition that  the

          submission  was "for [the chairman's] eyes only."  He also claims

          to  have furnished extra copies  at Viacom's request  and to have

          met with an MTV vice-president, Lee Masters,  anent the proposal.

          Although Masters "raved" about  certain aspects of the plan,  the

          meeting came to naught.

                    Little daunted, Berkovitz resumed his courtship of HBO.

          During the  fall of  1987 he  met with Carlson,  who,   Berkovitz

          maintains, perused the TEN  plan, praised it, agreed to  keep its

          contents in confidence,  and led  him to believe  that HBO  would

          help launch the  new enterprise  and share the  fruits with  him.

          Despite   these   encomia,  and   several   subsequent  telephone

          conversations in the same vein, HBO never followed through.2

                              
          ____________________

               2Not  surprisingly,  Carlson  disputes  this  account.    He
          testified during  a deposition that  he found both  Berkovitz and
          the  TEN plan lacking in  focus; hence, he  refrained from making
          any commitments.

                                          3














                    HBO  inaugurated "The  Comedy Channel"  in November  of

          1989.    Viacom  shortly followed  suit  with  "Ha!   The  Comedy

          Network."   Late  in  1990  the  two  merged  to  become  "Comedy

          Central."  Berkovitz  insists that these offerings all drew their

          inspiration from  the TEN plan, and  that they did so  in blatant

          disregard of his proprietary rights.

          II.  TRAVEL OF THE CASE
          II.  TRAVEL OF THE CASE

                    The  procedural  aspects  of  this  litigation  are  of

          decretory significance.  We divide our account into two parts.

                               A.  Initial Proceedings.
                               A.  Initial Proceedings.
                                   ___________________

                    Invoking  diversity  jurisdiction,  28  U.S.C.    1332,

          Berkovitz filed  suit in federal  district court  on January  28,

          1991.    Judge Skinner  drew the  case.   In  the  complaint, the

          plaintiff alleged that HBO and Viacom pirated his concept without

          compensating him,  unjustly enriched  themselves at  his expense,

          breached implied-in-fact contracts  to pay him  if they used  the

          TEN  plan   to  productive  ends,  and   committed  unfair  trade

          practices.  The defendants denied these allegations.

                    The novelty (or lack  thereof) of the TEN plan  and its

          constituent  elements   soon  became   a   protuberant  bone   of

          contention.  The defendants, positing that New York's substantive

          law governed, maintained  that Berkovitz had to prove the novelty

          of his idea in  order to recover  under any actionable theory  of

          the  case.    Berkovitz, positing  that  the  substantive  law of

          Massachusetts  governed, attempted  to parry  this thrust  on two

          levels:   he asserted both that  his idea was in  fact novel, and


                                          4














          that  in all events a plaintiff whose idea was misappropriated in

          contravention  of  an  implied-in-fact contract  need  not  prove

          novelty in order to recover.

                    In time,  the  defendants moved  for summary  judgment.

          Judge  Skinner considered  the  parties' arguments  and  reserved

          decision.   In a rescript  dated May 18,  1994, he held  (1) that

          Massachusetts  law  supplies  the  rule  of  decision,  (2)  that

          Massachusetts  does not  require a  showing  of novelty  when the

          plaintiff alleges  the existence  of a  contractual relationship,

          and (3) that the defendants' motions for summary judgment  should

          therefore  be denied on all but the unfair trade practices claim.

          The court entered an appropriate order.

                            B.  The Pretrial Conferences.
                            B.  The Pretrial Conferences.
                                ________________________

                    After Judge Skinner elected  senior status, many of his

          cases were redrawn.  Judge Keeton assumed responsibility for this

          case   in  mid-1994.      Although  the   defendants  moved   for

          reconsideration  of  the earlier  denial  of  brevis disposition,
                                                        ______

          Judge Keeton did not act upon these motions.  He instead convened

          a series of pretrial conferences in a commendable effort to bring

          matters  to a  head.  During  the last  four conferences  (all of

          which  took place in 1995), the  judge concentrated on clarifying

          and delimiting the issues  to be tried.  Because the  events that

          transpired at  these conferences shed considerable  light on this

          appeal, we set out a brief chronology.

                    1.   The March  21 Conference.   The first  of the four
                    1.   The March  21 Conference.
                         ________________________

          conferences  focused  primarily  on  the  parties'  agreement  to


                                          5














          bifurcate  the  trial, separating  the  issues  of liability  and

          damages.    But Judge  Keeton  also  seized this  opportunity  to

          instruct the parties to spell out their legal  theories (avoiding

          forensic jargon),  and directed  them to  develop a verdict  form

          suitable for submission to a jury.3

                    2.   The April 27  Conference.  At  the next conference
                    2.   The April 27  Conference.
                         ________________________

          the  parties wrangled over a  proposed verdict form.   The debate

          led  Judge Keeton  to remark  that "we're  going to  have to  get

          specific" about what elements of the TEN plan were "substantially

          used" by the defendants.  The judge explained that this degree of

          particularization would  assist  in "structuring  the claims  and

          defenses  so  that  I  can  understand  them,  so  the  jury  can

          understand  them, [and]  so that  [the litigants]  can understand

          each other."

                    3.  The June 1 Conference.  At the third conference the
                    3.  The June 1 Conference.
                        _____________________

          judge cautioned that  he would not allow the jury  to consider "a

          fuzzy claim"  and urged the plaintiff's  lawyer to "communicat[e]

          to me  clearly . . . your legal  and factual theory."  After some

          additional  discourse (during which the defendants unsuccessfully

          sought  leave  to  file  fresh  motions  for  summary  judgment),

          plaintiff's counsel  reformulated his position.   He pledged that
                              
          ____________________

               3In the course of  this conference, plaintiff's lead counsel
          made  his first attempt to spell out his implied contract theory.
          He suggested that there are  several elements:  "one is,  did Mr.
          Berkovitz come up with the idea? . . .  Two, did he submit  it to
          the defendants?  Three is, did they use  it? . . .  Four is,  did
          he submit it . . . to them in a context in which one can imply  a
          promise to  pay for it if  they use it? .  . .  And  then if [the
          jurors] answer all of those correctly, I would say under that one
          theory of the case, then you go to damages . . . ."

                                          6














          he  would prove  (1) an implied  agreement between  Berkovitz and

          each of  the defendants  for confidential  disclosure of  the TEN

          plan, and  (2)  the  defendants'  appropriation of  the  plan  in

          derogation  of this agreement.   The court reiterated its concern

          that this reformulation did not  enumerate which elements of  the

          plan  were novel  and  which were  used  by the  defendants.   In

          addition,  the  court  asked  the  plaintiff to  list  the  legal

          elements of  his implied-in-fact contract claim,  and plaintiff's

          counsel agreed to try again.

                    4.   The July 18 Conference.   The plaintiff's outright
                    4.   The July 18 Conference.
                         ______________________

          abandonment  of any cause of action based on the putative novelty

          of any of the  elements contained in  the TEN plan dominated  the

          early stages of the final conference.  Novelty aside, the defense

          maintained  that  the  plaintiff  still  had  not  specified  the

          elements  of his  remaining implied  contract claim.4   The court

          reaffirmed its desire  that Berkovitz state  his cause of  action

          with  particularity.    Noting  that  Berkovitz's  proposed  jury

          instructions, if given, would  require the jury to find  that HBO

          and/or Viacom made "substantial  use" of the TEN plan,  the court

          asked Berkovitz to specify what this portended.

                    More   discussion  ensued,   but  the   judge  remained

          dissatisfied;  he reminded  Berkovitz's counsel  that he  had the

                              
          ____________________

               4Following the parties' lead,  we use "implied contract" and
          words of  like import as a  rubric to cover not  only plaintiff's
          implied  contract claim but also his embedded claim for breach of
          fiduciary duty.   Both claims  have a common  denominator:   they
          require proof of an agreement or duty to hold Berkovitz's idea in
          confidence, and to compensate him for its unauthorized use.

                                          7














          authority to require a plaintiff to state with particularity  the

          theory underpinning his  claim, and warned that  he might dismiss

          the  case  because  Berkovitz  had  failed  to  comply  with  the

          particularization  orders.    The  defendants  moved  orally  for

          summary judgment on  the ground that all the elements  of the TEN

          plan were in the public domain.  The court  expressed no interest

          in strolling down this road, and the oral motions languished.

                    In a last-ditch effort  to satisfy the court's demands,

          Berkovitz's attorney again attempted  to articulate his theory of

          the  case.    The  lawyer delineated  what he  termed Berkovitz's

          position "from day one":  Berkovitz gave the defendants copies of

          the TEN  plan under circumstances  in which  a reasonable  person

          would  expect compensation if they  (or either of  them) used his

          work product.  Thus, if a defendant had  made some beneficial use

          of some part  of that  document, Berkovitz would  be entitled  to

          relief.  The court described this iteration of Berkovitz's theory

          as postulating  an  "all factors"  approach  because it  did  not

          differentiate  among the elements of  the TEN plan  (e.g., it did

          not single  out which  elements  the plaintiff  claimed had  been

          misappropriated and used).  After  expressing its belief that the

          approach probably was "incorrect  as a matter of law,"  the court

          entered  an interlocutory  judgment for  the defendants  but gave

          Berkovitz "time for filing something more."

                    5.     The  Court's  Final  Order.    Berkovitz     who
                    5.     The  Court's  Final  Order.
                           __________________________

          apparently believed that the  court had entered the interlocutory

          judgment  either   as  a  sanction  for   failure  adequately  to


                                          8














          particularize  his claim  or because it  found the  "all factors"

          approach legally infirm    moved for reconsideration.   The court

          denied the motion and  entered final judgment.  See  Berkovitz v.
                                                          ___  _________

          HBO, 1995 WL 791939,  at *10 (D. Mass.  Oct. 23, 1995).   In this
          ___

          order the court clarified the basis on which the judgment rested;

          in its view, Berkovitz's claim lacked factual grounding.  See id.
                                                                    ___ ___

          at  *5.    Consequently,   the  court  terminated  the   case  on

          substantive grounds.  See id. at *9.
                                ___ ___

          III.  DISCUSSION
          III.  DISCUSSION

                    Our  analysis  proceeds  in  three steps.    First,  we

          examine the lower  court's final  order and explain  why we  deem

          that order to be a species of sua sponte summary judgment.  Next,

          we delineate the  legal standards that pertain to such judgments.

          Finally, we dispose of the appeal.

                 A.  Characterizing the District Court's Final Order.
                 A.  Characterizing the District Court's Final Order.
                     _______________________________________________

                    We find no fault with the judge's decision to convene a

          series of  pretrial conferences  devoted largely to  refining the

          issues  and ascertaining  which issues  were fit  for the  jury's

          consumption.   Federal district  courts enjoy wide  discretion in

          their crafting of  the pretrial process, see,  e.g., Cleveland v.
                                                   ___   ____  _________

          Piper  Aircraft Corp.,  985  F.2d 1438,  1450 (10th  Cir.), cert.
          _____________________                                       _____

          denied, 114 S. Ct. 291 (1993); Jensen v. Frank, 912 F.2d 517, 524
          ______                         ______    _____

          (1st Cir. 1990), and requiring parties to particularize claims or

          defenses falls well within  the compass of that discretion.  In a

          related vein, courts may use case management tools to advance the

          important purpose of affording "the opposing party fair notice of


                                          9














          the  claims asserted against him  and the grounds  on which those

          claims rest."  Rodriguez  v. Doral Mortgage Corp., 57  F.3d 1168,
                         _________     ____________________

          1171 (1st Cir. 1995).

                    In  this instance,  the court  made adroit  use  of its

          powers and  succeeded in  winnowing the plaintiff's  claims until

          only  one claim remained   the implied contract claim premised on

          the "all factors" approach.   There are three  possibilities that

          might explain why  the court entered judgment in  the defendants'

          favor on this last claim:  (1) the claim may have depended upon a

          flawed legal theory, or (2) it  may have been stated too  loosely

          (in defiance of the court's  particularization orders), or (3) it

          may  have lacked a sufficient evidentiary  predicate.  Though the

          court criticized  the "all factors" approach  in various respects

          at various times, careful perscrutation of the  final order rules

          out two of these  possibilities.  As to legal  insufficiency, the

          court  stated that  it had  "[a]ssum[ed], without  deciding, that

          [the  "all  factors"  approach  upon  which  Berkovitz's  implied

          contract claim depends] is indeed a correct interpretation of the

          law  in Massachusetts."   Berkovitz,  supra, at  *5.   As to  the
                                    _________   _____

          particularization orders, the court vouchsafed that the plaintiff

          did not violate these orders by failing to furnish a more precise

          statement of his implied contract claim.  See id. at *9.
                                                    ___ ___

                    This   leaves  the  third   possibility:    evidentiary

          insufficiency.  Unlike the other  possibilities, that explanation

          is  strengthened by the  language of the final  order.  The court

          wrote "that the plaintiff  has provided no evidence from  which a


                                          10














          jury could decide  . . . that in  this case factual circumstances

          supporting . . .  a duty [of confidentiality] arose at some point

          during the negotiations  of the parties."  Id. at  *5.  Along the
                                                     ___

          same lines, the court  added that "[a] jury could  not reasonably

          find, on this evidence, that factual conditions prerequisite to a

          contractual  or fiduciary  duty  existed  in  this  case."    Id.
                                                                        ___

          Consequently,   Berkovitz's  implied   contract  claim   did  not

          "survive[] examination on the merits."  Id. at *9.
                                                  ___

                      We  will not  paint the  lily.   Since "the  district

          court speaks to us primarily through its decrees," Advanced  Fin.
                                                             ______________

          Corp. v.  Isla Rica Sales, Inc., 747 F.2d 21, 26 (1st Cir. 1984),
          _____     _____________________

          the final order itself is the most likely source of enlightenment

          in  our quest to understand its nature.   Here, the order, fairly

          read,  discounts  the other  possibilities  and  disposes of  the

          plaintiff's implied contract claim on a substantive ground:  lack

          of evidence.  Accordingly, we are constrained to characterize the

          court's  action as a spontaneous grant of summary judgment rather

          than as a  dismissal for  either legal insufficiency  or want  of

          compliance with case management orders.

                   B.  Elucidating the Applicable Legal Standards.
                   B.  Elucidating the Applicable Legal Standards.
                       __________________________________________

                    It is apodictic that district courts have the  power to

          grant summary judgment sua sponte.  See Celotex Corp. v. Catrett,
                                              ___ _____________    _______

          477 U.S. 317, 326 (1986); Stella v. Tewksbury, 4 F.3d 53, 55 (1st
                                    ______    _________

          Cir. 1993); Jardines Bacata, Ltd. v. Diaz-Marquez, 878 F.2d 1555,
                      _____________________    ____________

          1560  (1st  Cir.  1989).    Properly  deployed,  that  power  can

          complement  the courts'  case management  authority.   After all,


                                          11














          pretrial conferences aid district  courts in "the formulation and

          simplification  of  the  issues,  including  the  elimination  of

          frivolous claims or defenses."  Fed. R. Civ.  P. 16(c)(1).  Since

          this  process  is designed  to  promote  efficiency and  conserve

          judicial resources, see In re Two Appeals, 994 F.2d 956, 965 (1st
                              ___ _________________

          Cir.  1993),  "[t]here  is   no  reason  to  require  that   [the

          elimination of non-trialworthy claims]  await a formal motion for

          summary judgment."  Fed. R. Civ. P. 16(c)(1) advisory committee's

          note to  1983 amendment; accord  Aetna Cas. &amp; Sur.  Co. v. P  &amp; B
                                   ______  ______________________    ______

          Autobody, 43 F.3d  1546, 1568 (1st Cir.  1994).  Thus,  when "the
          ________

          pretrial  conference  discloses that  no  material  facts are  in

          dispute  and that the undisputed facts entitle one of the parties

          to  judgment  as a  matter of  law,"  Portsmouth Square,  Inc. v.
                                                ________________________

          Shareholders Protective Comm., 770 F.2d 866, 869 (9th Cir. 1985),
          _____________________________

          the  court may  dispose of  the entire  case by  granting summary

          judgment sua sponte.5   See  Capuano v. United  States, 955  F.2d
                                  ___  _______    ______________

          1427, 1432 (11th Cir. 1992); Portsmouth Square, 770 F.2d at 869.
                                       _________________

                    Though a district court  may enter summary judgment sua

          sponte at, or in consequence of, a pretrial conference, the court

          must ensure that  the targeted party has  an adequate opportunity

          to dodge the bullet.  To  this end, we have placed two conditions

          on  unbesought  summary  judgments.    First,  a  district  court

          ordinarily may order summary judgment on its  own initiative only
                              
          ____________________

               5A district  court also  may grant partial  summary judgment
          sua  sponte, removing some (but  fewer than all)  of the parties'
          claims or defenses from the case.  See, e.g., Hubbard  v. Parker,
                                             ___  ____  _______     ______
          994  F.2d 529,  530  (8th Cir.  1993);  National Expo.,  Inc.  v.
                                                  _____________________
          Crowley Maritime Corp., 824 F.2d 131, 133 (1st Cir. 1987).
          ______________________

                                          12














          when  discovery is  sufficiently advanced  that the  parties have

          enjoyed  a reasonable  opportunity to  glean the  material facts.

          See  Stella, 4 F.3d  at 55;  Jardines Bacata,  878 F.2d  at 1561.
          ___  ______                  _______________

          Second, the court may  enter summary judgment sua sponte  only if

          it first gives the targeted party appropriate notice and a chance

          to present its evidence on the essential elements of the claim or

          defense.  See Celotex, 477 U.S. at 326; see also Jardines Bacata,
                    ___ _______                   ___ ____ _______________

          878 F.2d at 1561 ("`Notice' in this context means that the losing

          party .  . .  received a  fair opportunity to  put its  best foot

          forward.").

                    These strictures are not peculiar to sua sponte summary

          judgments, but, rather, mirror the general principles that govern

          all  motions for  summary judgment.   See  Stella, 4  F.3d  at 56
                                                ___  ______

          (noting that "it is well settled in this circuit that all summary

          judgment proceedings,  including those initiated by  the district

          judge,  will be  held  to the  standards  enunciated in  Rule  56

          itself"); Quaker  State, 884  F.2d at 1513  (explaining that  the
                    _____________

          district  court's power  to  order summary  judgment  on its  own

          initiative must be exercised  "according to the rigorous protocol

          of  Rule 56").   This means, of  course, that a  nisi prius court

          must give the  targeted party at least  ten days within  which to

          proffer  affidavits or other evidence  in response to the court's

          specific concerns.  See Stella, 4 F.3d at 56.
                              ___ ______

                    Appellate   review  is   equally   unaffected  by   the

          spontaneous  nature of  the trial  court's action.   As  with any

          other grant  of summary  judgment, the court  of appeals  affords


                                          13














          plenary  review  to  a   decision  granting  sua  sponte  summary

          judgment,  and reads the record  in the light  most hospitable to

          the targeted party.  See Quaker State, 884 F.2d at 1513.
                               ___ ____________

                             C.  Applying the Standards.
                             C.  Applying the Standards.
                                 ______________________

                    These standards inform the disposition of this  appeal.

          Having  scoured the  record, we  believe that the  district court

          failed to give the plaintiff adequate notice of the basis for the

          action that the  court ultimately took, and that,  therefore, the

          judgment cannot stand.  We explain briefly.

                    When  a court  charts a  procedural route,  lawyers and

          litigants are entitled to rely  on it.  A court cannot  alter its

          bearings mid-course  without signalling the  impending change  to

          the parties.   See Foster-Miller,  Inc. v. Babcock  &amp; Wilcox,  46
                         ___ ____________________    _________________

          F.3d  138,  148-49  (1st  Cir.  1995)  (pointing  out  that  this

          principle is  especially pertinent "[w]hen judges  elect on their

          own  initiative  to  use  innovative  methods  in  an  effort  to

          accelerate  the progress  of a  case"); Stella,  4 F.3d  at 55-56
                                                  ______

          (applying  this  principle to  a  sua  sponte summary  judgment).

          Here,  the judge  obviously understood  the rule,  see Berkovitz,
                                                             ___ _________

          supra, at *2 (acknowledging the  court's obligation to afford "an
          _____

          opportunity  for counsel  opposing  the judgment  to proffer  all

          relevant and  admissible evidence"), and apparently  thought that

          he had honored it.  See id. at *1 (describing the  particularity-
                              ___ ___

          of-claim  orders  as requiring  Berkovitz "to  proffer admissible

          evidence sufficient to support  the findings necessary to satisfy

          the elements of  [his] legal  theory"); id. at  *5 (stating  that
                                                  ___


                                          14














          Berkovitz  was "given  an opportunity  to proffer  any additional

          evidence  that might be material").   Yet the  record simply does

          not bear out the court's recollection.

                    One part  of the problem relates  to the particularity-

          of-claim  orders.   The  court did  not  reduce those  orders  to

          writing,  but   delivered  them   ora  sponte  at   the  pretrial
                                            ___  ______

          conferences   that  we   have  chronicled.      Nonetheless,  the

          conferences  took place in the  presence of a  court reporter and

          transcripts  now  have  been  prepared.6   Whatever  the  court's

          intentions, its transcribed words do not require the plaintiff to

          proffer evidence of the existence of the implied contracts.

                    Another part of the problem is that the  district court

          appears to have  changed course without giving the targeted party

          sufficient forewarning.  When the court informed the plaintiff at

          the  penultimate  (June  1) conference  that  it  might  enter an

          adverse judgment,  it linked this possibility  not to evidentiary

          insufficiency but to  the plaintiff's  failure satisfactorily  to

          comply with  the particularity-of-claim orders.   See id.  at *3.
                                                            ___ ___

          At  the last  conference  (July  18)  the court  reinforced  this

          linkage by discussing  its entry of an  interlocutory judgment in

          tandem  with  its  comments   on  the  plaintiff's  inability  to

          articulate  avenues  of legal  relief  beyond  the "all  factors"

          approach.  See,  e.g., id.  In its  written opinion, however, the
                     ___   ____  ___
                              
          ____________________

               6While the four conferences listed in our chronology were on
          the  record,  the court  convened at  least one  other conference
          (November 21,  1994) for which  no transcript has  been supplied.
          The clerk's notes  on the docket sheet regarding  this conference
          are unilluminating.

                                          15














          court veered in  a different  direction.  It  explained that  the

          claim  predicated on  the "all  factors" approach  would not  fly

          because "the plaintiff has provided no evidence from which a jury
                                                 ________

          could decide, under any plausible interpretation of Massachusetts

          cases, that in this case factual circumstances  supporting such a
                                   _____________________

          duty  [of  confidentiality]  arose   at  some  point  during  the

          negotiations of the  parties."   Id. at  *5 (emphasis  supplied).
                                           ___

          Prior to  making  this ruling,  the  court had  neither  informed

          Berkovitz that it was considering a judgment based on evidentiary

          insufficiency nor invited him to marshal and present his proof in

          respect to the  existence vel non  of an  implied contract.7   To
                                    ___ ___

          the contrary,  the court's  pre-ruling statements pointed  in the

          opposite  direction.    We cite  two  examples.   At  the  June 1

          conference plaintiff's counsel strove  to embellish the  elements

          of his  client's implied contract  claim.  The  court interrupted

          him,  stating:   "I don't want  to talk  about the  proof at this

          point.  I just want to talk about the legal elements. . . ."  The

          second  example is  drawn from  the July  18 semble;  the court's

          declaration  on  this occasion  that  the  plaintiff's claim  was

          "incorrect as a  matter of law"  tended to render any  proffer of

                              
          ____________________

               7We note  that all  parties initially  seem to have  assumed
          that the trial court did not premise the sua sponte judgment on a
          dearth of  evidence.  The plaintiff's  motion for reconsideration
          makes  manifest Berkovitz's  belief that the  court defenestrated
          the  case either  as  a sanction  or  because the  "all  factors"
          approach  failed as  a matter  of law.   By  the same  token, the
          defendants' oppositions to that motion did not attempt to justify
          the  judgment   on  the   ground  that  there   were  evidentiary
          deficiencies  related to  the plaintiff's  proof  of one  or more
          contractual relationships.

                                          16














          evidence supporting that claim nugatory.

                    The question that confronts us  is not whether the "all

          factors" approach is (or  is not) legally sound.   Similarly, the

          question is not whether there is (or is not) adequate evidence in

          the  record  to  defeat  summary judgment  on  the  "all factors"

          approach.   The question, rather,  is whether the  court gave the

          plaintiff  a meaningful  opportunity  to cull  the best  evidence

          supporting his  position, and to present  that evidence, together

          with developed legal argumentation, in opposition to the entry of

          summary judgment.  See Stella, 4  F.3d at 55; Bonilla v.  Nazaro,
                             ___ ______                 _______     ______

          843 F.2d 34,  37 (1st Cir. 1988).  On this  record, we think that

          the opportunity   if one existed   was too poorly defined.8

                    Nor  are  we comfortable  shifting  the  blame for  the

          apparent  miscommunication to the  plaintiff.   To be  sure, this

          court  from time to time has refused to permit appellants to take

          advantage  of supposed oversights that had not been called to the

          district  court's  attention  by  way  of  a  timeous  motion  to

          reconsider.   See, e.g., United States v. Schaefer, ___ F.3d ___,
                        ___  ____  _____________    ________
                              
          ____________________

               8There  are four reasons why it is not a satisfactory answer
          to  suggest that the plaintiff had an opportunity to proffer this
          evidence  in connection  with  the defendants'  original Rule  56
          motions.   First,  the  defendants forswore  any reliance  on the
          insufficiency  of such  evidence when  they filed  those motions.
          Second, Judge Skinner  neither focused on nor purported to decide
          whether  the plaintiff could prove  the existence of  one or more
          implied contracts,  but, rather, assumed that  the defendants had
          entered into such  contracts.   Third, the contours  of the  case
          thereafter  changed  dramatically,  and Judge  Keeton  explicitly
          declined to rule on the defendants' pending motions to reconsider
          Judge  Skinner's order.  See  Berkovitz, supra, at  *3.  Finally,
                                   ___  _________  _____
          the defendants' reconsideration motions (like their original Rule
          56  motions)   also  assumed  the  existence   of  the  requisite
          contractual relationship.

                                          17














          ___ n.9 (1st Cir. 1996) [No.95-2342, slip op. at 19 n.9]; Grenier
                                                                    _______

          v. Cyanamid Plastics,  Inc., 70  F.3d 667, 678  (1st Cir.  1995);
             ________________________

          VanHaaren v. State Farm Mut. Auto. Ins. Co., 989 F.2d 1, 4-5 (1st
          _________    ______________________________

          Cir.   1993).    But  here,  the  plaintiff  filed  a  motion  to

          reconsider,  raising all the  grounds that  were apparent  at the

          time.    It  was  not  until  the  district  court ruled  on  the

          reconsideration  motion that  the  spotlight  suddenly  swung  to

          evidentiary insufficiency.    While the  plaintiff  theoretically

          might  have filed  a second  motion for  reconsideration at  that
                               ______

          time,  the appeal  period  was  running;  and, moreover,  we  are

          reluctant to fault a  suitor who, like Berkovitz, chooses  not to

          ask  a  trial  court more  than  once  to  reconsider an  adverse

          decision.  Discretion,  after all,  is often the  better part  of

          valor.

                    We need  go no further.   It may be that,  in the final

          analysis, the plaintiff cannot muster enough evidence to ward off

          a  properly advertised summary judgment    but he  is entitled to

          make the  attempt.  Since the record fails to show that Berkovitz

          had a meaningful opportunity  to do so, the district  court's sua

          sponte entry of summary judgment cannot stand.



                    The judgment is  vacated, and the  case is remanded  to
                    The judgment is  vacated, and the  case is remanded  to
                    _______________________________________________________

          the district  court for further proceedings  consistent with this
          the district  court for further proceedings  consistent with this
          _________________________________________________________________

          opinion.  Costs in favor of the plaintiff.
          opinion.  Costs in favor of the plaintiff.
          _______   _______________________________






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